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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     (BROWARD DIVISION)
                                       www.flsb.uscourts.gov

 In re:                                               Case No. 19-10998-JKO

 JO ANN HARMON                                        Chapter 7

          Debtor(s).
 ___________________________________/

     TRUSTEE'S EX PARTE MOTION (A) TO EMPLOY REAL ESTATE BROKER;
      (B) TO ENTER INTO LISTING AGREEMENT; (C) FOR AUTHORIZATION
           TO ENTER INTO SHORT SALE NEGOTIATION PROCESS; AND
         (D) TO ENTER INTO CONTRACT FOR SALE OF REAL PROPERTY

          Chapter 7 Trustee, Kenneth A. Welt (the “Trustee”), pursuant to 11 U.S.C. §§ 327(a) and

363, Fed. R. Bankr. P. 2014 and Local Rule 9013-1(C)(4), requests the Court enter an order: (a)

approving the retention of Alejandro J. Morad and Charles Rutenberg Realty, LLC (collectively,

the “Broker”), as Real Estate Broker for the Trustee, to provide certain real estate brokerage

services in this case, as set forth below; (b) authorizing the Trustee to enter into a listing agreement

with the Broker; (c) authorizing the Trustee to enter into a short sale negotiation process with

regard to the real property described below; and (d) authorizing the Trustee to enter into a contract

for the sale of real property, subject to further Court approval, and states:

          1.     On 1/24/2019, JO ANN HARMON (the “Debtor(s)”) filed a voluntary petition for

bankruptcy relief under Chapter 7 of the United States Code (the “Bankruptcy Code”).

          2.     The Debtor(s), JO ANN HARMON, is the sole fee simple owner of an interest in real

property located in BROWARD County, Florida, which is identified as having the property address

of: 681 S HOLLYBROOK DRIVE, APT 107, PEMBROKE PINES, FL 33025 (Parcel ID: 5141 17

AA 1270), and is legally described as follows:

                HOLLYBROOK GOLF & TENNIS CLUB CONDO UNIT 27-107

                              (hereinafter referred to as the “Property”).
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       3.      The Property was not claimed as exempt and is therefore property of the bankruptcy

estate pursuant to 11 U.S.C. § 541. The Debtor scheduled secured claim(s) against the Property

in favor of a secured lender (the “Secured Lender”), in an amount greater than the scheduled value

of the Property.

       4.      The Trustee believes that the Property may be sold for the benefit of the creditors.

Upon information and belief, the secured lender has procedures in place for a short sale and such

a short sale can be done with the secured lender’s consent. Any short sale would be contingent on

a carve-out for the benefit of the bankruptcy estate.

       5.      As such, it is necessary for the Trustee to employ a licensed real estate broker with

the requisite real estate brokerage experience to handle the Trustee’s marketing efforts. The

Trustee has conferred with the Broker, who has the ability and experience to represent the Trustee.

       6.      The Trustee believes that it is in the best interest of the estate to market and sell the

Property and that the Broker is qualified to sell the Property for the benefit of the estate.

       7.      The professional services to be rendered are summarized as follows:

            a. Analyze and determine the market value of the Property;

            b. Advertise and show the Property to potential buyers;

            c. Assist with the negotiation of a short sale price and carve-out for the benefit of the

               bankruptcy estate; and

            d. Sell and assist with the closing of the sale of the Property.

       8.      The Broker is a disinterested party, who does not hold any adverse interest to the

estate. See Exhibit “A” – Affidavit of Disinterestedness.

       9.      Attached to this Application as Exhibit “B” is the listing agreement entered into

between the Trustee and the Broker, subject to the Court’s approval, the principal terms of which

are that Trustee and the Broker have agreed that the Broker would be paid at closing a 6%

commission fee, with the Broker agreeing to share such commission with any cooperating buyer’s
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broker, if applicable. .

       10.      The Trustee submits that a 6% commission rate is standard within the real estate

industry.

       11.      The Trustee also requests authorization to reimburse the Realtor in a maximum

amount not to exceed $500.00, for any approved, out-of-pocket costs incurred by Broker,

associated with the maintenance and upkeep of the Property in connection with a potential sale,

upon the availability of funds from the estate, without the need for further Order.

       12.      Furthermore, in an abundance of caution and in order to comply with any and all

requirements of the Secured Lender, the Trustee requests that the Court provide him with specific

authorization to enter into a short sale negotiation process with the Secured Lender, with regard to

the Property.

       13.      The Trustee further requests that the Court authorize the Trustee to enter into a

contract for the sale of the Property, which will be contingent upon further Court order. The

Secured Lender shall be permitted to review the proposed HUD-1 prior to closing and the short

sale will be subject to the Secured Lender’s consent to the negotiated terms and conditions.

       14.      That is, upon reaching an agreement with the Secured Lender on the specific terms

of a short sale and carve-out for the bankruptcy estate, and upon procuring a contract for the sale

of the Property, the Trustee will file a further motion, pursuant to 11 U.S.C. § 363 and Fed. R.

Bank. P. 6004, for the approval of the sale and the payment of the Broker’s (and any participating

broker’s) commission(s).

       15.      Approving the process set forth above would be in the best interest of the

bankruptcy estate and would allow the Trustee to liquidate and monetize the Property for the

benefit of unsecured creditors.

       WHEREFORE, the Trustee respectfully requests the Court enter an Order: (a) approving

the retention of the Broker as Real Estate Broker for the Trustee, to provide the real estate
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brokerage services identified above; (b) authorizing the Trustee to enter into the listing agreement

with the Broker attached as Exhibit “B”; (c) authorizing the Trustee to reimburse the Realtor in

the maximum amount, not to exceed $500.00, upon the availability of funds from the estate,

without the need for further Order, for any approved, out-of-pocket costs incurred by the Broker,

associated with maintenance and upkeep of the Property in connection with a potential sale; (d)

authorizing the Trustee to enter into a short sale negotiation process with the Secured Lender with

regard to the Property; (e) authorizing the Trustee to enter into a contract for the sale of the

Property, subject to further Court approval; and (f) granting such other and further relief as the

Court deems just and proper.

      Dated: June 6, 2019                            LEIDERMAN SHELOMITH
                                                     ALEXANDER + SOMODEVILLA, PLLC
                                                     Proposed Attorneys for Kenneth A. Welt
                                                     2699 Stirling Rd, C401
                                                     Fort Lauderdale, FL 33312
                                                     Telephone: (954) 920-5355
                                                     Facsimile: (954) 920-5371

                                                     By:__________/s/_____________
                                                           Zach B. Shelomith
                                                           Florida Bar No. 0122548
                                                           zbs@lsaslaw.com

                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on June 6, 2019 to
all parties on the list to receive e-mail notice/service for this case, via the Notice of Electronic
Filing (which is incorporated herein by reference), and via U.S. Mail to Jo Ann Harmon, 39
Talavera Ct, St. Augustine, FL 32086 and Synchrony Bank, PRA Receivables Management, LLC,
PO Box 41021, Norfolk, VA 23541.
                                                       By:_________/s/_____________
                                                                Zach B. Shelomith
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                       Exhibit "A"
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                       Exhibit "A"
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     Exclusive Right of Sale Listing Agreement

 1   This Exclusive Right of Sale Listing Agreement (“Agreement”) is between
 2    Trustee Kenneth A. Welt for the Estate of Jo Ann Harmon                                                                   ("Seller")
 3   and Alejandro J Morad, Realtor for Charles Rutenberg Realty, LLC                                                         ("Broker").

 4   1. Authority to Sell Property: Seller gives Broker the EXCLUSIVE RIGHT TO SELL the real and personal
 5      property (collectively “Property”) described below, at the price and terms described below, beginning
 6       05-30-2019
        ____________________                                             11-30-2019
                                    and terminating at 11:59 p.m. on ____________________          (“Termination Date”). Upon
 7      full execution of a contract for sale and purchase of the Property, all rights and obligations of this Agreement will
 8      automatically extend through the date of the actual closing of the sales contract. Seller and Broker acknowledge
 9      that this Agreement does not guarantee a sale. This Property will be offered to any person without regard to race,
10      color, religion, sex, handicap, familial status, national origin, or any other factor protected by federal, state, or local
11      law. Seller certifies and represents that she/he/it is legally entitled to convey the Property and all improvements.
12   2. Description of Property:
13      (a) Street Address: 681 S HOLLYBROOK DRIVE, APT 107, PEMBROKE PINES, FL 33025
14

15            Legal Description: HOLLYBROOK GOLF & TENNIS CLUB CONDO UNIT 27-107
16            ____________________________________________________                           See Attachment

17       (b) Personal Property, including appliances:
18            ____________________________________________________                           See Attachment
19       (c) Occupancy:
20           Property  is          is not currently occupied by a tenant. If occupied, the lease term expires ______________ .
21   3. Price and Terms: The property is offered for sale on the following terms or on other terms acceptable to Seller:
22                    TBD
        (a) Price: $____________________
23      (b) Financing Terms:        Cash      Conventional        VA      FHA      Other (specify)
24             Seller Financing: Seller will hold a purchase money mortgage in the amount of $
25          with the following terms:
26             Assumption of Existing Mortgage: Buyer may assume existing mortgage for $___________________ plus
27          an assumption fee of $____________________. The mortgage is for a term of ______ years beginning in
28          ______, at an interest rate of ______%        fixed      variable (describe) _____________________________ .
29          Lender approval of assumption       is required       is not required     unknown. Notice to Seller: (1) You may
30          remain liable for an assumed mortgage for a number of years after the Property is sold. Check with your
31          lender to determine the extent of your liability. Seller will ensure that all mortgage payments and required
32          escrow deposits are current at the time of closing and will convey the escrow deposit to the buyer at closing.
33          (2) Extensive regulations affect Seller financed transactions. It is beyond the scope of a real estate licensee’s
34          authority to determine whether the terms of your Seller financing agreement comply with all applicable laws or
35          whether you must be registered and/or licensed as a loan originator before offering Seller financing. You are
36          advised to consult with a legal or mortgage professional to make this determination.
37      (c) Seller Expenses: Seller will pay mortgage discount or other closing costs not to exceed ______% of the
38          purchase price and any other expenses Seller agrees to pay in connection with a transaction.
39   4. Broker Obligations: Broker agrees to make diligent and continued efforts to sell the Property until a sales
40      contract is pending on the Property.
41   5. Multiple Listing Service: Placing the Property in a multiple listing service (the “MLS”) is beneficial to Seller
42      because the Property will be exposed to a large number of potential buyers. As a MLS participant, Broker is
43      obligated to timely deliver this listing to the MLS. This listing will be promptly published in the MLS unless Seller
44      directs Broker otherwise in writing. Seller authorizes Broker to report to the MLS this listing information and price,
45      terms, and financing information on any resulting sale for use by authorized Board / Association members and
46      MLS participants and subscribers unless Seller directs Broker otherwise in writing.
     



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 47   6. Broker Authority: Seller authorizes Broker to:
 48      (a) Advertise the Property as Broker deems advisable including advertising the Property on the Internet unless
 49          limited in (6)(a)(i) or (6)(a)(ii) below.
 50          (Seller opt-out) (Check one if applicable)
 51          (i)      Display the Property on the Internet except the street address.
 52          (ii)     Seller does not authorize Broker to display the Property on the Internet.
 53                Seller understands and acknowledges that if Seller selects option (ii), consumers who search for listings
 54                on the Internet will not see information about the Property in response to their search.
 55                ______/______ Initials of Seller
 56      (b) Place appropriate transaction signs on the Property, including “For Sale” signs and “Sold” signs (once Seller
 57          signs a sales contract) and use Seller’s name in connection with marketing or advertising the Property.
 58      (c) Obtain information relating to the present mortgage(s) on the Property.
 59      (d) Provide objective comparative market analysis information to potential buyers.
 60      (e) (Check if applicable)         Use a lock box system to show and access the Property. A lock box does not
 61          ensure the Property’s security. Seller is advised to secure or remove valuables. Seller agrees that the lock
 62          box is for Seller’s benefit and releases Broker, persons working through Broker, and Broker’s local Realtor
 63          Board / Association from all liability and responsibility in connection with any damage or loss that occurs.
 64               Withhold verbal offers.        Withhold all offers once Seller accepts a sales contract for the Property.
 65      (f) Act as a transaction broker.
 66      (g) Virtual Office Websites: Some real estate brokerages offer real estate brokerage services online. These
 67          websites are referred to as Virtual Office Websites (“VOWs”). An automated estimate of market value or
 68          reviews and comments about a property may be displayed in conjunction with a property on some VOWs.
 69          Anyone who registers on a VOW may gain access to such automated valuations or comments and reviews
 70          about any property displayed on a VOW. Unless limited below, a VOW may display automated valuations or
 71          comments and reviews about this Property.
 72               Seller does not authorize an automated estimate of the market value of the listing (or a hyperlink to such
 73          estimate) to be displayed in immediate conjunction with the listing of this Property.
 74               Seller does not authorize third parties to write comments or reviews about the listing of the Property (or
 75          display a hyperlink to such comments or reviews) in immediate conjunction with the listing of this Property.
 76   7. Seller Obligations: In consideration of Broker’s obligations, Seller agrees to:
 77      (a) Cooperate with Broker in carrying out the purpose of this Agreement, including referring immediately to
 78          Broker all inquiries regarding the Property’s transfer, whether by purchase or any other means of transfer.
 79      (b) Provide Broker with keys to the Property and make the Property available for Broker to show during
 80          reasonable times.
 81      (c) Inform Broker before leasing, mortgaging, or otherwise encumbering the Property.
 82      (d) Indemnify Broker and hold Broker harmless from losses, damages, costs, and expenses of any nature,
 83          including attorney’s fees, and from liability to any person, that Broker incurs because of (1) Seller’s
 84          negligence, representations, misrepresentations, actions, or inactions; (2) the use of a lock box; (3) the
 85          existence of undisclosed material facts about the Property; or (4) a court or arbitration decision that a broker
 86          who was not compensated in connection with a transaction is entitled to compensation from Broker. This
 87          clause will survive Broker’s performance and the transfer of title.
 88      (e) Perform any act reasonably necessary to comply with FIRPTA (Section 1445 of the Internal Revenue Code).
 89      (f) Make all legally required disclosures, including all facts that materially affect the Property’s value and are not
 90          readily observable or known by the buyer. Seller certifies and represents that Seller knows of no such
 91          material facts (local government building code violations, unobservable defects, etc.) other than the following:
 92           ______________________________________________________________________________________
 93          Seller will immediately inform Broker of any material facts that arise after signing this Agreement.
 94      (g) Consult appropriate professionals for related legal, tax, property condition, environmental, foreign reporting
 95          requirements, and other specialized advice.
 96   8. Compensation: Seller will compensate Broker as specified below for procuring a buyer who is ready, willing,
 97      and able to purchase the Property or any interest in the Property on the terms of this Agreement or on any other
 98      terms acceptable to Seller. Seller will pay Broker as follows (plus applicable sales tax):
 99             6.0
         (a) __________%     of the total purchase price plus $____________________ OR $____________________, no
100          later than the date of closing specified in the sales contract. However, closing is not a prerequisite for Broker’s
101          fee being earned.
102      (b) __________ ($ or %) of the consideration paid for an option, at the time an option is created. If the option is
103          exercised, Seller will pay Broker the Paragraph 8(a) fee, less the amount Broker received under this
104          subparagraph.


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105       (c) __________ ($ or %) of gross lease value as a leasing fee, on the date Seller enters into a lease or
106           agreement to lease, whichever is earlier. This fee is not due if the Property is or becomes the subject of a
107           contract granting an exclusive right to lease the Property.
108       (d) Broker’s fee is due in the following circumstances: (1) If any interest in the Property is transferred, whether by
109           sale, lease, exchange, governmental action, bankruptcy, or any other means of transfer, regardless of whether
110           the buyer is secured by Seller, Broker, or any other person. (2) If Seller refuses or fails to sign an offer at the
111           price and terms stated in this Agreement, defaults on an executed sales contract, or agrees with a buyer to
112           cancel an executed sales contract. (3) If, within ______ days after Termination Date (“Protection Period”),
113           Seller transfers or contracts to transfer the Property or any interest in the Property to any prospects with whom
114           Seller, Broker, or any real estate licensee communicated regarding the Property before Termination Date.
115           However, no fee will be due Broker if the Property is relisted after Termination Date and sold through another
116           broker.
117       (e) Retained Deposits: As consideration for Broker’s services, Broker is entitled to receive ______% of all
118           deposits that Seller retains as liquidated damages for a buyer’s default in a transaction, not to exceed the
119           Paragraph 8(a) fee.
120   9. Cooperation with and Compensation to Other Brokers: Notice to Seller: The buyer’s broker, even if
121      compensated by Seller or Broker, may represent the interests of the buyer. Broker’s office policy is to cooperate
122      with all other brokers except when not in Seller’s best interest and to offer compensation in the amount of
123           3.0
            ______%     of the purchase price or $_______________ to a single agent for the buyer;        3.0
                                                                                                         ______% of the
124      purchase price or $_______________ to a transaction broker for the buyer; and        ______% of the purchase
125      price or $_______________ to a broker who has no brokerage relationship with the buyer.
126         None of the above. (If this is checked, the Property cannot be placed in the MLS.)
127   10. Brokerage Relationship: Broker will act as a transaction broker. Broker will deal honestly and fairly; will account
128       for all funds; will use skill, care, and diligence in the transaction; will disclose all known facts that materially affect
129       the value of the residential property which are not readily observable to the buyer; will present all offers and
130       counteroffers in a timely manner unless directed otherwise in writing; and will have limited confidentiality with
131       Seller unless waived in writing.
132   11. Conditional Termination: At Seller’s request, Broker may agree to conditionally terminate this Agreement. If
133       Broker agrees to conditional termination, Seller must sign a withdrawal agreement, reimburse Broker for all direct
134       expenses incurred in marketing the Property, and pay a cancellation fee of $____________________ plus
135       applicable sales tax. Broker may void the conditional termination, and Seller will pay the fee stated in Paragraph
136       8(a) less the cancellation fee if Seller transfers or contracts to transfer the Property or any interest in the Property
137       during the time period from the date of conditional termination to Termination Date and Protection Period, if
138       applicable.
139   12. Dispute Resolution: This Agreement will be construed under Florida law. All controversies, claims, and other
140       matters in question between the parties arising out of or relating to this Agreement or the breach thereof will be
141       settled by first attempting mediation under the rules of the American Mediation Association or other mediator
142       agreed upon by the parties. If litigation arises out of this Agreement, the prevailing party will be entitled to recover
143       reasonable attorney’s fees and costs, unless the parties agree that disputes will be settled by arbitration as follows:
144       Arbitration: By initialing in the space provided, Seller (____) (____), Sales Associate (____), and Broker (____)
145       agree that disputes not resolved by mediation will be settled by neutral binding arbitration in the county in which
146       the Property is located in accordance with the rules of the American Arbitration Association or other arbitrator
147       agreed upon by the parties. Each party to any arbitration (or litigation to enforce the arbitration provision of this
148       Agreement or an arbitration award) will pay its own fees, costs, and expenses, including attorney’s fees, and will
149       equally split the arbitrator’s fees and administrative fees of arbitration.
150   13. Miscellaneous: This Agreement is binding on Seller’s and Broker’s heirs, personal representatives,
151       administrators, successors, and assigns. Broker may assign this Agreement to another listing office. This
152       Agreement is the entire agreement between Seller and Broker. No prior or present agreements or representations
153       will be binding on Seller or Broker unless included in this Agreement. Electronic signatures are acceptable and
154       will be binding. Signatures, initials, and modifications communicated by facsimile will be considered as originals.
155       The term “buyer” as used in this Agreement includes buyers, tenants, exchangors, optionees, and other categories
156       of potential or actual transferees.
      




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157   14. Additional Terms:
158
        1. All Agreements, whether this listing or any other contracts, must be approved by the
159     United States Bankruptcy Court for the Southern District of Florida.

160     2. All disputes relating to this agreement or sale of the property shall be heard by the
        United States Bankruptcy Court for the Southern District of Florida.
161

162
        3. Property is being sold "As-is, Where-is"

163

164

165

166

167

168

169
                                                                                                                             05/30/2019
170   Seller’s Signature:                                                                                         Date: _______________________

171   Home Telephone:                                       Work Telephone:                                       Facsimile: ___________________

172   Address:

173   Email Address:

174   Seller’s Signature:                                                                                         Date: _______________________

175   Home Telephone:                                       Work Telephone:                                       Facsimile: ___________________

176   Address:

177   Email Address:

178                                                                                 05/30/2019
      Authorized Sales Associate or Broker: _______________________________ Date: _______________________

179
                           Charles Rutenberg Realty, LLC
      Brokerage Firm Name: _____________________________________________            786-486-6387
                                                                         Telephone: ___________________

180   Address:     2201 W. Prospect Road, Ft Lauderdale, FL 33309

181        Copy returned to Seller on _____________________ by                              email        facsimile        mail       personal delivery.

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